20-05027-rbk Doc#16 Filed 06/23/20 Entered 06/23/20 11:03:34 Main Document Pg 1 of 3




  The relief described hereinbelow is SO ORDERED.

  Signed June 23, 2020.


                                             __________________________________
                                                          Ronald B. King
                                               Chief United States Bankruptcy Judge




                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

 In re:                                        §          Chapter 11
 KRISJENN RANCH, LLC                           §
        Debtor                                 §       Case No. 20-50805
                                               §
 ______________________________________________________________________________
 KRISJENN RANCH, LLC and                       §
 KRISJENN RANCH, LLC-SERIES                    §
 UVALDE RANCH, and KRISJENN                    §
 RANCH, LLC-SERIES PIPELINE                    §
 ROW as successors in interest to              §
 BLACKDUCK PROPERTIES, LLC,                    §
                                               §
       Plaintiffs                              §
 v.                                            §
 DMA PROPERTIES, INC., and                     §
 LONGBRANCH ENERGY, LP,                        §     Adversary No. 20-05027
       Defendants                              §
 ______________________________________________________________________________
 DMA PROPERTIES, INC                           §
       Counter-Plaintiff/Third Party Plaintiff §
 v.                                            §
 KRISJENN RANCH, LLC,                          §
 KRISJENN RANCH, LLC-SERIES                    §
 UVALDE RANCH, and KRISJENN                    §
 RANCH, LLC-SERIES PIPELINE ROW,               §
20-05027-rbk Doc#16 Filed 06/23/20 Entered 06/23/20 11:03:34 Main Document Pg 2 of 3




 BLACK DUCK PROPERTIES, LLC,                   §
 LARRY WRIGHT, and JOHN TERRILL                §
     Counter-Defendants/Third-Party Defendants §

       ORDER ON KRISKENN RANCH, LLC, KRISKENN RANCH, LLC-SERIES
    UVALDE RANCH, AND KRISJENN RANCH, LLC-SERIES PIPELINE ROW, AS
  SUCCESSORS IN INTEREST TO BLACK DUCK PROPERTIES, LLC’S UNOPPOSED
     MOTION TO EXTEND TIME TO ANSWER TO DMA PROPERTIES, INC.’S
                           COUNTERCLAIM

          On this day came to be heard Debtors, Plaintiffs, and Counter-Defendants KrisJenn Ranch,

  LLC, KrisJenn Ranch, LLC-Series Uvalde Ranch, and KrisJenn Ranch, LLC-Series Pipeline Row,

  as successors in interest to Black Duck Properties, LLC’s (collectively the “Debtors”), Unopposed

  Motion to Extend Time to Answer DMA Properties, Inc.’s Counterclaim (the “Motion”). Finding

  that good cause exists for the relief requested, with no objection being made to the Motion, and

  after careful consideration of all matters before it, the Court is of the opinion that the Motion should

  be granted.

          It is therefore ORDERED that KrisJenn Ranch, LLC, KrisJenn Ranch, LLC-Series Uvalde

  Ranch, and KrisJenn Ranch, LLC-Series Pipeline Row, as successors in interest to Black Duck

  Properties, LLC’s deadline to respond to DMA Properties, Inc.’s Counterclaim and Third-Party

  Complaint is hereby extended by one week. It is further ORDERED that the Debtors shall file

  their response no later than June 29, 2020.

                                                    ###
20-05027-rbk Doc#16 Filed 06/23/20 Entered 06/23/20 11:03:34 Main Document Pg 3 of 3




  SUBMITTED BY:

  MULLER SMEBERG, PLLC

    /s/ Ronald J. Smeberg
  RONALD J. SMEBERG
  State Bar No. 24033967
  ron@smeberg.com
  111 W. Sunset Rd.
  San Antonio, TX 78209
  Telephone: 210-664-5000
  Facsimile: 210-598-7357
  ATTORNEY FOR DEBTORS
